                                   Case 5:17-cv-00079-JLH Document 13 Filed 06/16/17 Page 1 of 2
    !Pos~. 3/1.2'1.4)

I           U.S. Department of Justice                                                          PROCESS RECEIPT AND RETURN
                                                                                                See Instructions for "Service of Process by the U.S. Marshal"
            United States Marshals Service                                                      on the reverse of this form


            PLAINTIFF                                                                                                         COURT CASE NUMBER
              Charles E Hamner, ADC #143063                                                                                      5:17-cv-00079-JLH-BD
           DEFENDANT                                                                                                          TYPE OF PROCESS
              Danny Burls, et al.                                                                                              Summons & Complaint
           SERVE                   NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC., TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN




                   •
                   AT
                                Steve Outlaw, Dep . Warden, Maximum Security Unit
                                   ADDRESS Street or RFD, Apartment No., City, State and ZIP Code)

                                P.O. Box 20550
           SEND NOTICE OF SERVICE COPY TO REQUESTER AT NANE AND ADDRESS BELOW:
                                                                                                Pine Bluff, AR
                                                                                                                           c/o ADC Compliance Division


                                                                                                                             71612

                                                                                                                   I Number d process to be
                                                                                                                   I served with this Form - 285
                          lcharles E Hamner, ADC #143063                                                           I
                           VARNER SUPERMAX                                                                         : Number of panies to be
                           Arkansas Department of Correction                                                       I served in this case
                           Post Off ice Box 400
                          IGrady, AR 71644-0400                                                                    :check for service
                                                                                                                                                            ,...;i
           --------------------------------------,on                                                                    U.S.A.               rn             c:::::>
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                                                                                                                                            "''
                                                                                                                                    BusinessUlarld:"A1tenm Add~s,
           Telephone Number, and Estimated Times Available For Service):                      F
           SPECIAL INSTRIJCTlONS OR an-ER 11\f'ORMATION THAT VIALL ASSIST IN EXPEDITING SERVICE (Include
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                                                                                              U.S. DISTRICT COURT                                     <     \D         ([)
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                                                                                            JUN 16 2017
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                                                                               JAMES W. McCORMACK, CLERK
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                                                                                                                                              (fl -           ..
                                                                                                                                                             e,,.)     Cl..

                                                                               Bv:             -·                                             °'tn          0
                                                                                                                                                             C"\
           Signature of Attorney or other Originator requesting service on behalf ol:         ~           Of ~!Si!iP'HGNE NUMBER                            DATE
                                                                                              0 PLAINTIFF
            /s/ M. Frost, Deputy Clerk                                                        0 DEFENDANT 501-604-5351                                      5/19/2017



           I acknowledge receipt for the total     Total Process District        District                                                                             Date
           number of process indicated.

                                                                                                                                                                      s-a3-n
                                                                 of Orig/i       to Serve
           (Sign only first USM 285 if more
           than one USM 285 is submitted)                          No.   u1     No

          I hereby certify and return that IJI'
                                             have personally served, 0 have legal evidence of service, 0 have executed as shown in "Remarks", the process described
          on the individual, company, corporation, etc., at the address shown above or on the individual, company, corporation, etc., shown at the address inserted below.


          0   I hereby certify and    return that I am unable to locate the individual, company, corporation, etc., named above (See remarks below)

           Name and title of individual served (if not shown above)                                                                     A person of suitable age and dis-
                                                                                                                                   0    aalia'I then residing in the defendant's
                                                                                                                                        UIUll place of abode.
           Address (complete only if different than shown above)


                                                                                                                                                                                pm




                  Service Fee   Total Mileage Charges      Forwarding Fee    otal Charges    Advance Deposits     Amount owed to U.S. Marshal or            Amount of Refund


                                                                                                                          ~Ja
                                (includmg endeavors)
                                                                               /Jo
           REMARKS:




           PRIOR EDITIONS                                                                                                                  FORM USM-285 (Rev. 12/15/80)
           MWBE USED
                                                                   1. CLERK OF THE COURT
'·   .-   .          Case 5:17-cv-00079-JLH Document 13 Filed 06/16/17 Page 2 of 2




                                         Arkansas Board of Corrections
                                             Compliance Division
                                             Post Office Box 20550
                                          White Hall, Arkansas 71612
                                            Phone: (870) 267-6752
                                              Fax: (870) 267-6755


          MEMORANDUM

          TO:           United States Marshals Service, Western District

          FROM:         Chris Coody, Investigator Compliance Division

          RE:           Accepting Service/ Returning Service/Additional Service

          DATE:         June 12, 2017


          Please be advised that I am Accepting Service on these copies of this lawsuit, case no.
          5:17CV00079, Im. Charles E. Hammer, ADC#143063, v, Danny Burl et al, for the
          following, on this Date: June 12, 2017:

                  Danny Burl, Warden, MSU
                  Connie Jenkins, Classification, Ester Unit
                  Maurice Williams, Major, Grimes Unit
                  Steve Outlaw, Deputy Warden, Pine Bluff Unit
                  Marvin Evans, Retired, Deputy Director ADC


          This case is assigned to Chris Coody, Investigator for the Compliance Division.

          This case was delivered by U. S. Marshal's Service

          cc:     Attorney General's Office
                  Case File
